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               IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                   8:04CR262
                              )
          v.                  )
                              )
BRANDY K. BRENTON,            )                       ORDER
                              )
               Defendant.     )
______________________________)


           Pursuant to the memorandum opinion entered herein this

date,

           IT IS ORDERED:

           1) Defendant’s motion under 28 U.S.C. § 2255, affixed

to her motion for disqualification (Filing No. 145), is denied.

           2) Defendant’s motion for hearing and appointment of

counsel (Filing No. 146), and for the Court to take judicial

notice of non-waiver via affidavit of attorney-client privilege

(Filing No. 147) are denied as moot.

           DATED this 5th day of February, 2008.

                                    BY THE COURT:

                                    /s/ Lyle E. Strom
                                    _________________________________
                                       LYLE E. STROM, Senior Judge
                                       United States District Court
